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IN THE UNITED STATES DISTRICT COURT FKHJBY ` N‘DB_
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION 05 nn_zs PH 5=!“
UNITED STATES OF AMERICA }Ld
Plaintiff, CEH§US »…o
V~.-*£J (;r` 1»5, i-'?E?.EPHLS

vs. cR. No. 2=04_20136-02-1)

NATASHA R. DONELLY
Defendant.

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ORDER HOLDING PROBATIONER FOR REVOCATION HEARING

 

On July 25, 2005, Natasha R. Donelly appeared before on a
charge of violation of the terms and conditions of
probation/supervised release in this matter. The defendant was
advised of his/her rights under FRCrP 5 and 32.l(a)(1).

At this hearing, the defendant was released on bond. A
preliminary hearing on the violation was not held.

Accordingly, defendant Natasha R. Donelly is held to a final
revocation hearing, to be set on notice from the United States
District Court and in. accordance with. the ‘provisions of Rule
32.l(a)(2), Federal Rules of Criminal Procedure.

w+k
IT IS SO ORDERED this g 1 day Of , 2005.

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UNI‘I‘ED STATES MAGIS'I‘R.ATE JUDGE

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with Rule 55 and/or 32(b) FRCrP on

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 63 in
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July 26, 2005 to the parties listed.

ENNESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

